904 F.2d 699Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles Sonny BOSTIC, Plaintiff-Appellant,v.Aaron JOHNSON;  Gary Dixon;  Kenneth Harriss;  SergeantWilliams;  Officer Moore;  Lieutenant Ingram,Defendants-Appellees.
    No. 90-7039.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 7, 1990.Decided:  May 29, 1990.
    
      Appeal from the United States District Court for the Eastern District of N.C., at Raleigh.
      Franklin T. Dupree, Jr., Senior District Judge.  (C/A No. 90-31-MISC).
      Charles Sonny Bostic, appellant pro se.
      E.D.N.C.
      AFFIRMED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Charles Sonny Bostic appeals from the district court's order which denied him leave to file a civil action.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bostic v. Johnson, CA-90-31-MISC (E.D.N.C. Feb. 20, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    